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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-00133-TLN
12                               Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE AND EXCLUDE TIME PERIODS
13                         v.                           UNDER SPEEDY TRIAL ACT; FINDINGS AND
                                                        ORDER
14   DEANDREW JORDAN;
     GRANT BROWNING;                                    DATE: September 22, 2016
15   ATHANASIOS DIMOU,                                  TIME: 9:30 a.m.
                                                        COURT: Hon. Troy L. Nunley
16                               Defendants.
17

18                                              STIPULATION

19         1.      By previous order, this matter was set for status on September 22, 2016.

20         2.      By this stipulation, the parties move to continue the status conference until October 13,

21 2016, and to exclude time between September 22, 2016, and October 13, 2016, at 9:30 a.m., under Local

22 Code T4.

23         3.      The parties agree and stipulate, and request that the Court find the following:

24                 a)     The government has represented that it is in the process of producing additional

25         discovery in the form of investigative reports and related documents, as well as electronic

26         surveillance discovery, which the defendants will need time to review, discuss with their counsel,

27         and pursue investigation.

28                 b)     Counsel for defendants believe that failure to grant the above-requested


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 1          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 2          into account the exercise of due diligence.

 3                  c)     Based on the above-stated findings, the ends of justice served by continuing the

 4          case as requested outweigh the interest of the public and the defendant in a trial within the

 5          original date prescribed by the Speedy Trial Act.

 6                  d)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 7          et seq., within which trial must commence, the time period of September 22, 2016 to October 13,

 8          2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 9          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

10          of the Court’s finding that the ends of justice served by taking such action outweigh the best

11          interest of the public and the defendant in a speedy trial.

12          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

13 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

14 must commence.

15          IT IS SO STIPULATED.

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     Dated: September 20, 2016                                PHILLIP A. TALBERT
17                                                            Acting United States Attorney
18                                                            /s/ JAMES R. CONOLLY
                                                              JAMES R. CONOLLY
19                                                            Assistant United States Attorney
20
     Dated: September 20, 2016                                /s/ Chris Cosca
21                                                            CHRIS COSCA
22                                                            Counsel for Defendant
                                                              Deandrew Jordan
23
     Dated: September 20, 2016                                /s/ Michael Petrik
24                                                            MICHAEL PETRIK
                                                              Counsel for Defendant
25                                                            Athanasios Dimou
26 Dated: September 20, 2016                                  /s/ J. Toney
                                                              J. TONEY
27
                                                              Counsel for Defendant
28                                                            Grant Browning


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 2                                          FINDINGS AND ORDER

 3          IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

 4 stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as its order.

 5 The Court specifically finds the failure to grant a continuance in this case would deny counsel

 6 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 7 The Court finds the ends of justice are served by granting the requested continuance and outweigh the

 8 best interests of the public and defendant in a speedy trial.

 9          The Court orders the time from the date the parties stipulated, up to and including October 13,

10 2016, shall be excluded from computation of time within which the trial of this case must be

11 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) (Local Code

12 T4). It is further ordered the September 22, 2016 status conference shall be continued until October 13,

13 2016, at 9:30 a.m.

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15          IT IS SO FOUND AND ORDERED this 20th day of September, 2016.

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19                                                              Troy L. Nunley
                                                                United States District Judge
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE          3
      TIME; FINDINGS AND ORDER
